Case 2:12-cr-06053-EFS   ECF No. 954   filed 12/10/13   PageID.4275 Page 1 of 6
Case 2:12-cr-06053-EFS   ECF No. 954   filed 12/10/13   PageID.4276 Page 2 of 6
Case 2:12-cr-06053-EFS   ECF No. 954   filed 12/10/13   PageID.4277 Page 3 of 6
Case 2:12-cr-06053-EFS   ECF No. 954   filed 12/10/13   PageID.4278 Page 4 of 6
Case 2:12-cr-06053-EFS   ECF No. 954   filed 12/10/13   PageID.4279 Page 5 of 6
Case 2:12-cr-06053-EFS   ECF No. 954   filed 12/10/13   PageID.4280 Page 6 of 6
